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8    Attorneys for Plaintiff
9
10                                UNITED STATES DISTRICT COURT
11                             NORTHERN DISTRICT OF CALIFORNIA
12                                    SAN FRANCISCO DIVISION
13   UNITED STATES OF AMERICA,                    )       No. CR 05-0375 SI
                                                  )
14           Plaintiff,                           )
                                                  )       NOTICE OF DISMISSAL
15      v.                                        )
                                                  )
16   VINCE MING WAN,                              )
                                                  )       (San Francisco Venue)
17           Defendant.                           )
                                                  )
18                                                )
19           With leave of the Court, and pursuant to Federal Rule of Criminal Procedure 48(a), the
20   United States Attorney for the Northern District of California dismisses the above indictment
21   without prejudice. As the Court is aware, the charges in this case have been supplanted by the
22   defendant’s indictment in CR 06-0426 SI.
23
24   DATED:      September 1, 2006                        Respectfully submitted,
25                                                        KEVIN V. RYAN
                                                          United States Attorney
26
                                                                 /S/
27
                                                          ANDREW M. SCOBLE
28                                                        Assistant U.S. Attorney

     NOTICE OF DISMISSAL
     (CR 05-0375 SI)
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1            Leave is granted to the government to dismiss the indictment.
2
3    Date:                                               _________________________________
                                                         HON. SUSAN ILLSTON
4                                                        United States District Judge
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     NOTICE OF DISMISSAL
     (CR 05-0375 SI)
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